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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

GOLO, LLC,

Plaintiff, : NO. 2:17-cv~02493-GJP

I~[lGHER HEAL']`I-l NE'I`WORK, LLC, and
TROY SHANKS,

Defendants.

AMENDED COMPLAINT

Plaintiff, GOLO, LLC (“GOLO”), by and through its undersigned counsel, Pepper
Hamilton LLP, hereby files this Amended Complaint against Defendants I-Iigher I-Iealth
Network, LLC di“b.-“a Supplement Police and/or SupplementPolice.com ffk/a Higher Health
Foundation Ltd. (“I-IHN”) and Troy Shanks (“Shanks”) (collectively, “Defendants”), and in
support thereof avers as follows:

JURISIMON AND VENUE

l. This Court has jurisdiction over this Action pursuant to 28 U.S.C. §§ 1331 and
l338(a) and under the Lanham Act, 15 U.S.C. § 1121, et seq.

2. This Court has personal jurisdiction over Defendants because Def`endants transact
business, contract to supply things, and/or cause harm and tortious injury in the Commonwealth
of Pennsylvania. Defendants have purposefully availed themselves of the laws of Pennsylvania
and engage in continuous and systematic conduct in Pennsylvania and this judicial district.

3. Venue is proper in this Court pursuant to 28 U.S.C. § l39l (b) and (c).

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PARTIES

4. GOLO is a corporation organized under the laws of the State of Delaware with a
principal place of business located at 630 Churchmans Road, Suite 200, Newark, Delaware
19702.

5. HHN is an Indiana limited liability corporation with a principal office address
located at P.O. Box 548, Fishers, lN 46038. On information and belief, I-Il-IN was formerly
known as Higher I-Iealth Foundation Ltd., an Indiana corporation that was dissolved in or around
2012.

6. Shanks is an individual who, on information and beliel`, recently moved from
Indiana to Califomia, where he claims to now reside.

7. Shanks is the owner of`, and registered agent for, HHN.

8. Shanks claims that he is in the process of “rei"orming” I-IHN in California, and
dissolving the Indiana version of the same.

FACTUAL BACKGROUNI_)

GOLO LLC

 

9. GOLO owns and sells GOLO®, a leading Weight loss and wellness program that
aids people all over the world in achieving their weight loss goals in a sustainable and healthy
manner. (See www.golo.com.)

lO. GOLO is the owner of a series of registered trademarks that include the term
“GOLO” and relate to the GOLO program.

ll. GOLO was the top-searched diet on Google in 2016. (See

https:."`.-"www.goo ule.com.'“trends.-"Vis.-"ZO l 6.-"US?ltl=en.)

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12. The GOLO program promotes weight loss with a three-tier solution of dietary
modification, lifestyle change that recommends regular exercise, and nutraceutical
supplementation that helps dieters lose weight without excessively cutting calories and/or
compromising their health.

l3. GOLO is designed to promote steady weight loss; while individual results may
vary, GOLO customers can expect to lose an average of l-2 pounds per week, which has long
been regarded as a healthy and sustainable weight loss goal to minimize muscle loss.

l4. The GOLO program is currently offered through GOLO’s membership-based
website, which provides members free access to a variety of health resources, including health
coaching, member support, and a health library, and the opportunity to purchase both the GOLO
Diet and ReleaseTM, GOLO’s proprietary supplement

15. 'I`he GOI_.O Diet currently includes the GOLO Smart Card, Personal Metabolic
Rate Guide, GOLO Fit Card, Food Tracking Log, and Results Tracking Log, as well as the Truth
and Change, and Super Foods Guide booklets

16. The Re|ease supplement contains a proprietary blend of ingredients that work in
conjunction with the GOLO Diet to help manage glucose, insulin, and stress, in order to promote
steady and sustainable weight loss and minimize or eliminate muscle loss during the weight loss
regimen. (See littps:f,“www.golo.comfabout-releasef.)

l7. The GOLO Diet employs a meal plan that utilizes a system created by GOLO that
is designed to estimate the right amount of food for a customer based on the customer’s gender,
age, BMI, and lifestyle activity before exercise. The meal plan is based on sound, balanced
meals and snacks. A GOLO customer’s typical daily intake ranges from 1300-1500 calories,

before exercise, which is a higher amount than conventional diets or self-dieting strategies that

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usually keep the dieter’s intake below 1200 calories per day. GOLO also promotes additional
caloric intake when customers complete daily exercise, in order to prevent customers from
creating an excessive caloric deficit state or exercise induced muscle loss.

18. GOLO promotes lifestyle behavioral change by providing users with several tools
to help adjust their eating habits, address stress and emotional eating, shop healthier, and
exercise more.

l9. GOLO offers a sixty-day money back guarantee to its members (See
www.golo.com-“`policies.)

20. GOLO has earned rave reviews from its members, many of whom credit GOLO
with being the catalyst for sustainable weight loss, long-lasting dietary changes, and overall
improved health. (See httos:t.lgo|o.com.-"success-stories.) GOLO states on its website that the
highlighted results may not be typical and each person’s results may vary. (Id.)

21. GOLO is endorsed, and even used by, multiple medical doctors.

22. GOLO’s website explains that GOLO was developed by a “team of dedicated
doctors and phan‘nacists,” and that GOLO has a Customer Support team comprised of “dedicated
managers, customer support specialists, and life coaches.” (See https:.-“r'www.golo.com.tabout-
sQ|Q-)

23. GOLO conducted several trials between 2009 and 2014 in South Africa and the
United States to determine the efficacy and safety of its three-tier solution. (See
httgs:.-“.t`golo.com.-"golo-studies.t.) These studies demonstrated average weight loss of 20.6 pounds
within the first 90 days of the program, 37.4 pounds after 26 weeks, and 48.6 pounds after one
year. (Seeid.)

SHANKS AND HI-IN’S COMPET[NG INTER.NET BUSINESSES

24. Shanks and HHN compete with GOLO in the diet and weight-loss industry.
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25. Shanks is a self-professed “entrepreneur” and “marketer” Who - either
individually or through one of his companies _ owns andi'or operates a series of websites and
other, intemet-based enterprises

26. On one such website - troyshanks.com - Shanks describes himself as a
“searchiac,” a “true brainiac about search” and the “keyword king,” as Well as an “alpha
alchemist” who has made the intemet his “passionate playground” and is “optimizing the
universe.”

27. Shanks claims to specialize in search engine optimization ( “SEO”), which is the
process of manipulating - or “optimizing” - a particular website’s visibility in search engines,
including through the placement of keywords and links on particular pages.

28. In videos available through YouTube, Shanks is described as an “SEO genius”
who is able to generate significant amounts of traffic to intemet-based businesses (see, e.g.,
https:.".twww.voutube.com.-"watch?v=cr.`)G28e-9ll and littps:.t.-“www.voutube.com/watch?v=lq.lPU
5b3D6Y).

29. On information and belief, Shanks has traveled to, participated in, and/or spoken
at, various conventions, meetings, and/or gatherings across the country related to SEO and
intemet-based entrepreneurship.

30. To further his internet-based business interests, Shanks has also formed a series of

limited liability companies, including I-IHN.l

 

' On information and belief, three of Shanks’s other companies (l-Iigher Health
Foundation Ltd., T Money LLC, and Known Truth Learning Foundation) have recently
dissolved.

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3l. On information and belief, HHN - like Shanks’s other companies - is a pass-
through corporation that has no standalone, physical office or employees, and is used primarily
as a vehicle for enriching Shanks personally.

32. Shanks, either individual|y, or through HHN, has purchased and.for created dozens
of domains and/or websites, often through a third-party registrar. See Ex. A, hereto.

33. Most of those websites are or appear to have been informational, generating
revenue exclusively through advertising sales, which - on information and belief - increase in
direct proportion to the number of times visitors frequent those websites and click on the
advertisements, a number Shanks bolsters through the above-referenced SEO techniques

SUPPLEMENTPOLICE.COM

34. SupplementPolice.com (“Supplement Police”) is one of the active “infonnational”
websites that Shanks owns and operates through HHN.

35. Supplement Police claims to be a "product review website which aims to
introduce some much-needed honesty and transparency to the world of online reviews” through
“detailed reviews of popular products,” including “nutritional supplements, financial products,
and online business ideas.” (https:r'i"supplementpolice.comfabout/how-supplement-police-workst
(last visited January 10, 2018).)

36. Supplement Police boasts that it “provid[es] intelligent, well-written reviews [of
those products] from real customers” and “does [so] without being biased or favorable towards
any products or companies, (Id.)

37. Supplement Police claims further that _ while it used to make “money through
affiliate income" (by “promot[ing] certain products and link[ing] visitors to sales pages for those

products,” and then receiving a “cut of the sale”) _ it “doesn’t currently accept affiliate income

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from any company in exchange for favorable reviews - instead, it makes its money exclusively
from [Google] AdSense revenue.” (Id.)

38. Finally, Supplement Police claims that it is “possibly the most transparent review
website on the intemet today,” and is devoted to building “trust With all readers.” (Id.)

39. Despite its purported commitment to transparency and trust, Supplement Police:
does not publish its physical address, email address, phone number, or other contact information
on its website, or on its Facebook, Twitter, YouTube, Instagram, or Google+ pages; does not
identify the authors of the “reviews" on its website or list any of its owners, officers, directors, or
employees on its website; does not include bylines or date-stamps with its “reviews”; has no
readily-discoverable corporate footprint; conceals the true operator and owner of its website from
public view; and does not list Troy Shanks, or HHN, as being involved in the website in any
way.

40. On information and belief, Supplement Police’s “reviews” are predominantly
bogus, and not based on any scientific or factual testing, study, or analysis conducted or
reviewed by Supplement Police.

41. On information and belief, Supplement Police’s “reviews” are not unbiased.

42. On information and belief, Supplement Police is designed solely to benefit Shanks
and HI{N, not the public.

43. On information and belief, Supplement Police provides significant financial
benefits to and a competitive advantage for Shanks and HHN, by, among other things, promoting
and linking to products Shanks andtor HHN are affiliated with, manufacture, and/or sell.

44. For example, Supplement Police provides a particularly positive review of

Si|aLive Silica (“SilaLive”). See Ex. B, hereto.

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45. According to Supplement Police, SilaLive is a “health supplement combining
organic silica and pure food grade diatomaceous earth designed specifically to health the human
body by safely flushing and eliminating harmful toxins and excess waste,” and can be used “to
improve your overall health” or to help “detox or kickstart[] a diet.” See id.

46. Supplement Police currently gives SilaLive an “overall score” of 4.6 out of 5
stars, and the author of the Supplement Police SilaLive “review” states that he/she has
“personally been using SilaLive for the past few years” and that it is “clearly [a] product [that]
works for a lot of people.” See id.

47. Supplement Police also provides multiple links to the SilaLive website in the
Supplement Police “review” of the product, where consumers can purchase a one, two, three, or
four-month supply of the supplement, for between $29.97 and $l 14.97.2

48. As noted above, Supplement Police does not disclose the identity of its owners;
thus readers of the Supplement Police “review” of SilaLive are not informed that Shanks and
HHN are affiliated with, and, in fact, manufacture, distribute, and/or sell SilaLive, and own
andtor operate the SilaLive website.

49. Supplement Police actively hides its association with SilaLive, Shanks, and HI-H\l,
stating that “Sila|ive is made by a company called Silalive,” which can “reached by mailing PO
Box 548 in Fishers, Indiana 46038.” See id.

50. On information and belief, Supplement Police’s “review” of SilaLive also
contains numerous false andfor misleading statements regarding SilaLive, including: that

SilaLive is “formulated with the greatest quartz crystals” and that its main ingredient “wi|l help

 

2 SilaLive is also available for sale on Amazon and eBay.

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you fight [common health] problems from the inside and thus give you a healthier, more
permanent solution that artificial cures cannot promise you.”

51. On information and belief, Shanks and.for HHN have sold and shipped SilaLive to
Pennsylvania residents on numerous occasions.

SUPPLEMENT POLICE’S GOLO “REVIEW”

52. In or around 2016, Supplement Police published a “review” of the GOLO product
titled “GOLO - Insulin Resistance For Weight Loss?” (the “GOLO Review”) to its Website.
(See Ex. C, hereto (Feb. 2, 2017 version of the GOLO Review).)

53. The GOLO Review is replete with inaccuracies, misleading statements, and
blatant falsehoods.

54. For example, the GOLO Review inaccurately describes how GOLO was created,
as well as what GOLO “promises,” and falsely states that:

v GOLO’s Release Supplement should be taken “30 minutes before a meal” in
order to “enjoy health benefits while also purportedly norrnalizing your
insulin levels”; and

¢ “Out of all of the ingredients listed [in the Release Supplement], only Salacia
bark has been linked to reduced diabetes symptoms Meanwhile, none of the

other ingredients in Release have been linked to weight loss or normalized
insulin levels.”

(Ia'.)

55. ln addition, the GOLO Review includes bolded headlines that pose misleading
questions which could cause readers to doubt GOLO’s effectiveness andtor decide not to
purchase GOLO.

56. The GOLO Review is surrounded by advertisements and links to various products
and websites unrelated to, but _ in many cases - in direct competition with, GOLO, as well as a

series of so-called "'Related Reviews” authored by Supplement Police.

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57. As an example, at the bottom of the GOLO Review, there is a large, colorful
invitation for readers to “Shop Related Products,” and a corresponding advertisement that links
to four non-GOLO weight-loss supplements available for sale on Amazon.com. (See id.)

58. On information and belief, Supplement Police and.tor Supplement Direct sell, are
affiliated with, and/or receive commissions or other compensation from some or all of the
products or companies that are linked or advertised on or surrounding the GOLO Review.

59. Further down the GOLO Review page, there is also a stream of “comments” from
readers. (See id.)

60. These comments include basic questions about the GOLO product, its efficacy,
and its safety or appropriateness for individuals who are overweight, diabetic, and breastfeeding,
as well as “testimonials” from various readers who claim to have ordered and used the GOLO
product.

61. The above-referenced “testimonials” include negative reviews from mostly
anonymous “readers” who criticize and question GOLO.

62. For example, a “juanita krueger” later wrote (on May 2l, 2017) that GOLO “was
not for me. lt did nothing for me. Lost a whole one [sic] in a month. You need to tell everyone
they need to really diet and Work out [sic].”

63. On information and belief, Supplement Police never answered any of the above-
rel`erenced questions in the comments or otherwise replied to any of the comments on the GOLO
Review page.

64. On information and belief, Supplement Police does not screen the reader

“comments” on its website or the GOLO Review in any way. To the contrary, readers can post

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whatever they desire, simply by entering their comment in the “Leave a Reply” box at the
bottom of the webpage, along with their name and email address.

65. On information and belief, Supplement Police does not verify, or attempt to
verify, that “comments” are posted to its website by actual individuals (and not, for example,
GOLO competitors), that the names and email addresses provided by commenters are valid,
and/or that commenters who claim to have ordered or used the GOLO product actually did as
much.

66. ln May 2017, Plaintiff’s counsel wrote to Supplement Police _ through Domains
by Proxy, LLC, the entity then listed publicly as the registrant for Supplement Police’s website -
and demanded that Supplement Police cease and desist its unfair competition, false advertising,
and trade libel by, inter alia, removing the offending GOLO Review. (See Ex. D, hereto.)

67. Though Supplement Police’s owners never responded directly to that dcmand,
Supplement Police pulled the GOLO Review from its website in or around July 2017.

DEFENDANTS’ USE OF SEARCl-I ENGINE OPTIMIZATION TECHNIOUES TO STEAL
GOLO PAGE VIEWS AND CONSUMERS

68. On information and belief, Defendants redirected GOLO’s potential consumers to
Supplement Police (and to SilaLive and the other products, programs, and plans Supplement
Police positively reviews and promotes) through various SEOS throughout the period the GOLO
Review was live on the Supplement Police website.

69. On information and belief, Defendants purchased online advertisements,
including advertisements that were based upon, or incorporated, the term “GOLO,” which

accordingly manipulated the user’s search results in Google and other search engines.

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70. As a result of these and other SEOs, when a user searched Google or another
search engine for “GOLO” while the Supplement Police GOLO Review was live, Supplement
Police’s “GOLO review” and URL address appeared near the top of the results.

71 . On information and belief, Defendants’ use of the above-described SEOs
redirected potential and existing GOLO customers to Supplement Police’s website, and to
SilaLive and the other products, programs, and plans Supplement Police positively reviews and
promotes on its website, and has resulted in GOLO’s loss of substantial revenue and goodwill.

COUNT I
UNFAIR COMPETITION AND FALSE ADVERTISING UNDER THE LANHAM ACT.
15 U.S.C. 8 1125 et seg. AS TO GOLO

72. GOLO incorporates the preceding paragraphs as though set forth herein.

73. Defendants’ method of using Supplement Police’s website in general, and the
GOLO Review in particular, to publish false, misleading, and defamatory statements regarding
GOLO, praise SilaLive and the other the products, programs, and plans Defendants are affiliated
with, and/or receive compensation from, and direct readers to SilaLive and those other products,
programs, and plans, constitutes unfair competition and.for false advertising

74. Supplement Police purports to be an independent review site that provides readers
with an objective resource, but is actually a conduit for the promotion of SilaLive and the other
products, programs, and plans Defendants are affiliated with, and/or receive compensation from.

75. ln promoting SilaLive and those other products, programs, and plans Defendants
are affiliated with, andr`or receive compensation from, and disparaging GOLO, Defendants are or
were making false and misleading statements about GOLO’s product, including but not limited

to the statements alleged herein.

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76. Defendants’ false and misleading statements are material, in that they are likely to
influence customers’ purchasing decisions

77. Defendants’ acts constitute willful, deliberate, false, and misleading
representations of fact as to the nature and characteristics of GOLO’s services, in violation of 15
U.S.C. § l 125(a)(l )(B), because the GOLO Review is simply a means of promoting SilaLive and
the other products, programs, and plans Defendants are affiliated with, andtor receive
compensation from.

78. GOLO has been and will continue to be injured as a result of Defendants’ false
statements, either by direct diversion of sales from GOLO to SilaLive and the other products,
programs, and plans Defendants are affiliated with, and.-“or receive compensation from, the costs
to GOLO for corrective advertising to counteract Defendants’ misrepresentations and advertising
campaign, or by a lessening of the goodwill associated with GOLO’s goods and services

79. As a direct and proximate result of Defendants’ Unfair Competition and False
Advertising, GOLO has suffered and will continue to suffer monetary damages and irreparable
harm.

80. GOLO is entitled to reliefpursuant to 15 U.S.C. § 1125.

COUNT II
UNFAIR COMPETITION AND FALSE ADVERTISING UNDER TI-IE LANHAM ACT,
15 U.S.C. § 1125 et seq. AS TO SILALIVE AND AFFILIATED PRODUCTS,
PROGR_AMS. AND PLANS

81. GOLO incorporates the preceding paragraphs as though set forth herein.

82. In promoting SilaLive and the other products, programs, and plans Defendants are
affiliated with, andfor receive compensation from, Defendants appear to be making false and
misleading statements about said products, including but not limited to the statements alleged

herein.

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83. Defendants’ apparently false and misleading statements are material, in that they
are likely to influence customers’ purchasing decisions.

84. Defendants’ acts with respect to SilaLive and the products, programs, and plans
they are affiliated with, and/or receive compensation from, also constitute willful, deliberate,
false, and misleading representations of fact as to the nature and characteristics of their own
goods or services, in violation of 15 U.S.C. § 1125(a)(1)(B), because the statements alleged
herein are not supported by any studies, data, or facts. Defendants’ misleading statements,
therefore, constitute false advertising and promotion.

85. GOLO has been and will continue to be injured as a result of Defendants’ false
statements, either by direct diversion of sales from itself to SilaLive and the other products,
programs, and plans Defendants are affiliated with, and/or receive compensation from, or by a
lessening of the goodwill associated with GOLO’s goods and services.

86. As a direct and proximate result of Defendants’ Unfair Competition and False
Advertising, GOLO has suffered and will continue to suffer monetary damages and irreparable
harm.

87. GOI..O is entitled to relief pursuant to 15 U.S.C. § 1125.

COUNT III
TRADE LIBEL
PENNSYLVANIA COMMON LAW

88. GOLO incorporates the allegations of the foregoing paragraphs as if fully set forth
herein.

89. 'I`he above-mentioned statements were paid for and/or published by Defendants

on Supplement Police.

90. 'I`he above-mentioned statements were false and defamatory

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91. At the time Defendants published the above-mentioned statements, they knew that
the statements concerning GOLO were totally false or, if not, Defendants’ avoidance of the truth
was in utter and reckless disregard of their truth or falsity.

92. Defendants’ false and defamatory statements have severely injured GOLO, in that
they have tended to blacken and besmirch GOI..O’s reputation.

93. Each of the aforementioned defamatory statements was understood by third
parties to pertain to, and defame, GOLO.

94. Defendants’ defamatory publication was so outrageous and malicious as to
warrant the imposition of punitive damages.

95. As a proximate result of Defendants’ malicious, intentional, and reckless conduct
as set forth above, GOLO is entitled to such damages as will compensate it for the injury to its
professional reputation, as well as punitive damages to punish Defendants for their conduct and
deter Defendants and others similarly situated for like acts in the future.

PRAYER FOR RELIEF

WHEREFORE, GOLO prays for a judgment in its favor and against Defendants on the
claims set forth above and requests that this Court award GOLO compensatory and punitive
damages, attomeys’ fees and costs, and such other and further relief as this Court may deem just
and equitable under the circumstances

JURY TRIAL_DEMANIL

Plaintif`f hereby exercises its right to trial by a competentjury of its peers.

Dated: January 10, 2017 //_`
Wry (PA 30380)
_PPER HAMILTON LLP

3000 Two Logan Square

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CERTIFICATE OF SERVICE

l, M. Kelly Tillery, hereby certify that on January 10, 2017, 1 caused a true and correct
copy of the foregoing Amended Complaint to be served via email upon all counsel of record via

this Court’s ECF system.

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EXHIBIT “A”

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Shopper Info for Shopper ID 14599063

Shoppcr lD:
l’r\vatc Labcl lD.
Login Nomc:
First Name
Middle Namc:
Lasl Numc
Company:
Addrcssl:
Adr.lrcss2:

City:

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Postn| Codc:
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Status

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EMPOWERNETWORK.|V.COM Cancclcd 4113120|2 5125120|4 4173812|9
PEOPLEBA|LOUT.COM Canceled 4113120|2 5125120|3 4|73812|9
WAKEUPNOWREVIEW.COM Canceled 4113120|2 5125120|3 417387938
WAKEUPNOWREWARD COM Cuncclcd 4113120|2 5125120|3 4|73881'18
DOTCOMSECRETSREV!EWS.COM Canccled 411312012 512512013 417389259
CHRONlCMARKETER.NET Cnncclcd 412012012 61112013 419662455
AN[SESEED.ORG Conceled 412312012 614/2013 420434935
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Domain List - All for Shopper ID 14599063

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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GOODGREENL]FE.COM Cnncclcd 91612014 91612015 729'139302
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EXHIBIT “B”

Case 3:18-cv-O2434-GPC-|\/|SB Document 18 Filed 01/10/18 Page|D.211 Page 24 of 53
1110.12018 Food Grade Diatomaceous Earth Review 8. The SilaLive Silica Supplement

SilaLive Silica With Food Grade
Diatomaceous Earth

 

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Diatomaceous Earth - Human Health Benefits?

SilaLive is a health supplement combining organic silica and pure food grade diatomaceous
earth designed specifically to heal the human body by safely flushing and eliminating harmful
toxins and excess waste which has made it earn the title of the beauty mtneral.

Traditiona||y, this ancient treasure known as diatomaceous earth (a collection of diatoms
which are single-celled fossilized-frustu|e a|gae shells made of 85%+ silica) was always
associated with being a multi-purpose versatile substance for bed bugs, gardens and plants
health, animal feed or pool cleaners and others - but now, many are questioning what it can
positively do for human health.

For most, even if they have used or are familiar with the micro-fine diatomaceous earth food
grade powder, not many have never considered ingesting it for potential positive effects. It is
said the best fresh-water food-grade diatomaceous earth powder can be a cleansing catalyst
and determined detoxifying agent that helps the body remove and get rid of toxic metabo|ic
waste and damaging cellular-activity debris.

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111012018 Food Grade D|atomaceous Eanh Review & The Si|alJ`ve Sil;ca Supplement

Find out if 551/alive lives up to the hype today in our review.

What is Diatomaceous Earth & Orthosilicic Acid?

Simp|e. The star of the show is silica.

Diatomaceous Earth is made up of 85% silicon dioxide mineral (si|ica) and Orthosilicic acid is
essentially the organic form of silicon.

SilaLive is the only natural supplement that combines the power of these two active
ingredients that show significant signs as being a sensational cleanser and detoxifler:

_ Diatomaceous Earth (Ultra-Pure Food-Grade Variety)
~ Orthosilicic Acid (Organic Silica)

It’s okay if you've never heard of either compound, before. Silica is the second most-abundant
mineral on the planet and plays a critical role in the human body - although most of us have
never heard about lt.

Diatomaceous earth, on the other hand, is an element known to potentially remove internal
parasites like intestlna| worms and harmful bacteria.

Together, these two ingredients purportedly make Sila|ive a powerful natural supplement. The
supplement comes in the form of a micron-fine diatomaceous earth powder with organic silica
mixed in evenly. You mix the silica-rich powder in juice or water and drink it daily (best early

in the morning) to c|eanse your digestive and detoxification pathways for better overall health
and we|lness support.

Benefits of Si|a|ive

The creators of Sila|ive advertise all of the following benefits:

- Regenerate Ce|lu|ar Tissues

- Rejuvenate Natura| Ingredients
- Detoxify Heavy Meta|s

- Cleanse The Who|e Body

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1.1111.'2018 Food Grade Dlalomaceous Earlh Review & The SilaLive Silica Supplement

How Does Sila|ive Silica Supplement Work?

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Si|alive claims to work by using the world's “f"irst ever super-charged proprietary complex of
trace minerals”, including human food-grade diatomaceous earth containing 85% silica
content along with added organic silica.

Diatomaceous earth comes from fossilized algae and has been linked to powerful health
benefits - including detoxification and cleanslng throughout the body. Silica, on the other
hand, is thought to increase the synthesis of collagen and elastin in your skin, which can help
you reduce the effects of aging like wrinkles and fine lines.

What is Silica Deficiency?

Sila|ive is primarily marketed towards those who suffer from silica deficiency. Silica deficiency
is characterized by certain health problems, including:

- Poor Skin And Hair Health (Like Dryness Or Weakness)
- Heart Pain

- Stomach Pain

- Weakened Teeth And Gums

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Case 3:18-cv-02434-GPC-l\/|SB Document 18 Filed 01/10/18 PagelD.214 Page 27 of 53
1110!2018 l'-'ood Grade Diatomaceous Earlh Review 8. The SilaLive Silica Supplement

Some of us get our recommended daily value of silica from the foods we eat. We only need

trace amounts of silica to stay healthy. But when your body doesn't get these trace amounts,
it can lead to serious health problems.

Chronic silica deficiency can harm your bones, carti|age, tendons, blood vessels, and arteries.
There's also some evidence that siiica deficiency is linked to an increased risk of A|zheimer's
disease.

Silica, by the way, is just a shortened term for silicon dioxide.

Interesting|y enough, beer is one of the best and most accessible sources of silica: beer
contains anywhere from 20 to 60 mg of silica per liter. Silica can also be found in our soi|,
plants, and water. Bananas contain about 13.6 mg of silica in a 2509 serving, and most
grains, beans, and plants contain between 2 and Smg per average serving.

Ultimate|y, silica deficiency is rare in humans because it is so abundant in our food.
Neverthe|ess, silica deficiency can still occur, especially as the body ages.

SilaLive Silica Supplement

SilaLive's offers many health benefits to its customers. See some of the benefits below in this
complete review.

Diatomaceous Earth is a natural product that isn't exactly earth. It is actually the fossilized
remains of microscopic organisms called Diatoms. You might remember them from junior high
science |abs. If you don't, ask a 5th grader!

What ls Diatomaceous Earth?

So these organisms create a shell around them that later gets fossilized and these fossi|s are
ground formed in to Diatomaceous earth, which is 84% silicon dioxide or Silica.

It has already been proven by science that silica is that one trace mineral that is essential for

human |ife. This is why this wonderful natural substance can prove to be highly beneficial
when ingested by human beings.

Beneflts Of Silica

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Case 3:18-cv-02434-GPC-l\/|SB Document 18 Filed 01/10/18 PagelD.215 Page 28 of 53
1I10I2018 Food Grade Dialomaceous Earth Review & The SilaLive Silica Supplemenl

There are many health benefits of silica, like lower blood pressure and lower cho|esterol.
These are two of the most common problems that are caused by modern life and everyone
who has used diatomaceous earth has reported a serious decrease in both cholesterol levels
and blood pressure ievels. It has been surprising both the users and their doctors. No wonder
this product is in such high demands.

Silica is also a very important for healthy bones and a tough bone structure. Those who
complain from joint pains have received wonderful results by using diatomaceous earth. Many
do not know that calcium supplements alone cannot do anything when it comes to joint pain in
old age. You need silica to kick-start the body's self-healing mechanism.

Even osteoporosis patients have received good results by using diatomaceous earth.

 

Silica Supplementation

It is even said to prevent and lessen the symptoms of Alzheimer's disease by deterring
aluminum absorption in to the body. Silica is also a very potent cosmetic solution.

Skin needs silica to keep the process of cell regeneration from stopping over time. Our skin
starts to deteriorate because as we age, our skin cells stop regenerating fast enough to keep
our skin smooth and flrrn. This is why we develop wrinkles and loose skin. With silica however,
this process is enhanced and your skin starts looking younger.

Silica also benefits your hair, which is about as rich in silica as your bones are and hence
needs as much caring. After a||, it is every human beings crowning glory and without it, much
of the natural beauty of a person is |ost.

Diatomaceous Earth Silica

Diatomaceous earth works wonders for your hair by making it stronger and healthier from the
roots. As a result you will experience less breakage and healthier hair. And since all this is
happening from within your body, you will see that the changes are quite long staying and
completely natura|.

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inc/2018 road oraue Diatomaceous Earth Review s. The siiauve silica supplemeni
Diatomaceous earth also helps you to have healthy teeth and gums, by reinforcing your dental
health with silica. It also increases the health of your nail plates by making them stronger and
less fragile.

Thus, diatomaceous earth is really one of the best natural
cures for a lot of your common health problems. It will help
you fight those problems from the inside and thus will give you
a healthier, more permanent solution that artificial cures

cannot promise you.

SilaLive Diatomaceous Earth Silica Supplement

The most appreciated and highly effective diatomaceous earth
supplement is SilaLive. Formulated with the greatest quartz
crysta|s, SilaLive is being highly effective.

    

Those who have tried it have mentioned awesome health

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improvement. This is all due to the fact that SilaLive functions
like a great detoxifier. When the body no longer holds heavy
metals and toxins in the bloodstream, the detoxification
process conducts to helping your hair, skin and nails.

Silalive lngredients

Silalive's nutritional information sheet lists just one ingredient:
- Enhanced Diatomaceous Earth and OrthoSilicic Acid (Organic Silica}: 7,500mg per serving

Each “serving” is listed as 1 tablespoon. There are 30 servings in each container.

How to Use Silalive

The manufacturer recommends taking one scoop of Silalive once or twice per day with water.
You should not take more than 3 scoops per day.

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1110!2018 Food Grade Diatomaceous Eath Review & The SilaLive Silica Supplement

The supplement also claims to be organic, impurity-free, and certified food“safe.

How to Buy Silalive

You can currently only buy Silalive from the product’s official website at Silalive.com. At that
site, you'|| find the following prices:

- 1 Bott|e: $34.97 + $4 shipping

- 2 Bott|es: $59.97 ($29.99 each) + $5 shipping
- 3 Bott|es: $79.97 ($26.66 each) + $8 shipping
- 6 Bott|es: $119.97 ($19.99 each) + $10 shipping

Each bottle contains a one month supply of Silalive, which works out to 225 grams.

All shipping is provided by the United States Postal Service. Those shipping costs assume
you're shipping to a United States address.

You can ship Silalive to international addresses. Just enter your country and address into the
ordering form and the site will provide a shipping cost estimate.

A|| of the orders come with one free detox diet guide. That guide lists step-by-step instructions
on how to follow a 7 day detox plan using Silalive along with wholesome, natural foods.

Who l\/lakes Silalive?

Silalive is made by a company called Silalive. That company can be reached by mailing PO Box
548 in Fishers, Indiana 46038.

The company also lists its support email address as support@silalive.com

There is very little information about Silalive company available online. The company's official
website simply features the company's logo and a picture of the Vitruvian Man. What we do
know is that the company is based in Fisher, Indiana, which is just outside of Indianapolis.

Final Thoughts: Who Should Use Silalive?

Silalive is marketed towards those who believe they have a silica deficiency. Silica deficiency is
characterized by dry skin, weakened hair, heart pain, stomach pain, and poor gum or tooth

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1.'10!2018 Food Grade Dialomaceous Eanh Review & The SilaLive Silica Supplement

health.

It’s also marketed to those who want to cleanse toxins from their body - say, if you’re going
through a detox or kic|<starting a diet.

If you fall into one of those two groups - or just want to improve your overall health and
wellness - then Silalive may be the supplement you need to remove parasites, toxins, and
waste from your body.

One thing you cannot ignore is the positive testimonials plastered over Facebook, amazon and
posted on their website. Clearly the product works for a lot of peop|e.

 

Customer Support *' it * 'A' f
Does It Work * * * *' t
Ease Of Purchase * * * 'k i?
shipping Times ir t ir ir air
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I have personally been using SilaLive for the past few years. It is one supplement that I consistently take da|ly.
Customer Support is easy to get a hold of. Usually had an email back within 48 hours or much less. Can purchase
on their website along with Amazon and eBay. FAST shippingi They have good discounts for ordering in bulk
versus single bottle. And they have a 100% money back guarantee on any un-used bottles.

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EXHIBIT “C”

Case 3:18-cv-O2434-GPC-l\/|SB Document 18 Filed 01/10/18 PagelD.22O Page 33 of 53

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GOLO - Insulin Resistance For Weight l_oss?

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for Life

 

4 Foods you must not eat : “"` "
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GOLU is a thiee-part diet program that pmm-ses to fx your insulin resistance while
trimming away Fat. l~iere'-. oui GO ..0 diet revie'--.

What is the GOLO Dlet?

GCLO is a diet program created by New \‘ork Times best-selling self-help a_'thnr n'l-d John
Hopkins School of Medicine‘s Keith Abiow, l‘-‘iD.

AIong with his learn ol rredica. doctors, they created this
tn come -.n tlie fort-1 o' a user-specific 30 day 'res:ue" plan l.|iat promises to reverse yi.' i_-r
resistance, speed tip yoi,r weight loss (g»et rid of your bei!y Fatl, and

Likely you have sawGo!t'-.. TV ad ‘Onte And Far Al"' in which users shared results abqu how
they completely reshaped their entire bodies and icves.

Tiie program comes ln three separate parts. which we’ l get into below.

The Three Part GOLO Welghl Loss Program

GDLD consists of three separate components, including

Take Release Patonted Supplemenls

T|'ese Release patented supplements come ln t"te form of a softge'| capsule and are made
using oiganic Haxseed oil and plant iiig'ediei-!s. You take o=ie with every meal to picverit you
from oversatliig. The ingredients also i . :i '
sto ed fat.

- l and encouitigr.- your body to burn

Ovei' time, this mii eventually optimize your ins _ii.i'.. The creators of GOLO claim that there
are over 200 independent studies support rig the effectiveness and safety of the ig 'ed'e~ts
in Releasc.

Moiabol : Fue| Nlairix

The i-letaL~o-ic Fuel t-latnx sounds more extreme than it actually s. Th s part of the diet

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simply refers to meal p aris that a so measure the nietabclic effect of food. allowing your
meals t:r be perfectly balanced to it' axirnize energy without spik'ng insulin or ca.'sing fat
s:omge.

BOLO Roadmap

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C-til down a brt cl your billy navy day by " l '
avoiding lone 4 curb loorl¢ on your menu " ” _

The GC>LD Rn.idinap teaches you which changes can have a big impact on your health and
a-ctabo..srn. _'si:aL o identifies various obstacles youil need to come to achieve weight loss.

1his part ol' the program also comes with a 12 month membership to mygolo corn. w'~iere
yriri can talk with other members and talk vi'-rli GDtO experts while tracking your results.

How Does GOLO Claim to Work?

One of the key terms used by the creator-s of GOLD is 'insulin resistancc', which '.s also
known as preoiabctes.

This condition occurs when your body produces insul'n but cannot utilize i: effectiveiy. Yorii'
glucose builds irp .n your blood instead of being absorbed by your ceils.

An estimated 86 rn.llio-i Aiiier'cans suffer from some type of insulin resistance or
predialretes. Sym ptoms include difficulty losing we glit, increased thirst, fatigue, and fiequent
urinntion.

The good part about predlabctes is that unlike full-hawn diabetes, prediabett:s can be
reversed It's caused by eating too much food and riot gett'-ig enough exercise. and you can
reverse these effects by eating less Food and exercising more. Malres sense, right?

GOLD's diet and exercise programs are designed to address these concems.

Fiist, the nutritional programs help to normalize your iiisii in 'evels by eating meals packed
with oroteins, carbohydrates. and fats.

l‘-ieanwhile, the GDLO exercise program involves a lot of l li_'iii irteiii ry ii-: ei'. el unii. ‘irig, or
Hil`l`. GOLO refers to this as "clynamic hurst training" .

rrI‘.T has proven effective at ncreas ng your menics for various enduiarice indicators - .ke
i,'gz max papers - but ;h¢m's some controversy about its ability to help you lose werght.

GOLD also advocates something called 'spot training" in its oxeiri:u :ii:;;iianis. Spot training
involves targeting specific areas of your body by performing muscle movements 'n that area.
For example. you can do ah i'.'orkoiits to reduce beily fat.

That may sound good Biit studies have shown that spot training .s a complete myth. It
docsn't i.vodc. But remember, training is important, and likely better than taking some
ii-i |-- -i- -i - - =- forexarriple.

 

Nutrliionai Facts lot the Release Supplement

Vr\u start GOl.D using the Reiease supplement. That supplement contains alioi the l`o|lcrwlriq
-1 gredients

- l'lagnesiurn; 60 mg

1 Z'il'l€' 5 mg

-- Mngnesium. {as magnesium oxide) 30 mo

- Zinc las zinc oxide] 5 mg

-- Cli-oitilirr.i: las Cliromiurn Nicotinate G .yr.rnate) 70 mcp

- Proprietary B|erid 405rng Banaba Leaf Extr'acc, lnaslto'_ l- -. i =. -' '= r ~_, Barban»,'
ilark i'.-xtract, Gardenia Fiuir. Extract, Salacia Bark Extmct, Apple Fr'.lit Extract

By taking this pill 30 minutes before a meall you can enjoy health benef-ts while also
purportedly normall:ing your insu| n levels.

dvome~axtensiucflbpoomjcammlapoogomelfrnaeghmglleditmnl

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MW

chrune-erdensloidlbpcmcjcamm|q:cogcme|hnaoghhagifodthhn[

 

rrimbus acroenshot app

Crut of all of the ingredients listed above_ only Salacia bark has been linked to reduced
diabetes symptoms. \‘rcL i-' - i'- - -. that

 

" .' -" 'llll'.'_'l"a:\'. :lL.'-.:,'r'- .-i..'li.'.

The problem with Release is that Salac-a -_s hidden as part of o proprietary biend, which
means v.'e do.-r't know the exact dosage iriside. \'Je can'i he su~e that t provides any
meaningful rest.lts.

f-ilearrnrhiieJ none of thc other ingredients iii Release have been linked to weight loss of
norina r'zr-_-tl insulin leveis.

GOLO Prlclng

GOLO‘s pricing breaks down like this:

+ 1 Month Sopply. 539.95
- 2 i‘-lonth Suppiy. 569.90
- 3 f-loni:h Supply' $qu.tl$

u timateiy, GOLO is a straightforward diet and fitness program that may reverse yo.rr
prediahetes and help you lose weiqlit. Altfiough GDLO has performed ts own clinica' trials
over the years. scientific evidence for its techniques is othenvise iirriited. For example, GOLO
advocates the use of exercise techn.-r|ues like spot training which have widely proven to be
ineffect ve.

i-leanwhlle, the Release supplement shows little evidence that it can actually reverse y:rur
pt'ed:abetes with its listed lni_',uedient:rl Neverthele$s. at this price range. GOLO appears to he
a cost-effective program that outlines basic weight ioss recomn'endatioiis.

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Men'. You Don'i Need Vlaqra ll 2 Veqqles that 'Destroy' i[1) Easy Trlck ‘Rernoves° Vour

They no This Onea Daily - Stomach Fat Eyebags & Wr'lnkles (Do This
quhta E[J Tonlghtl)

 

14 Tlrnes Lollo Winner‘.Do Wekdost Tr|ck Erases Yellow blow to Remove Eye Bags and
This Every Tin're You Buy A Teelh Slalns irr 3 Mlnutes Lip Llnet ln'i Mlnute [do This
Lotto Ticket {Win 11\‘1 2 T|mes) To.'\lght)l

m non our

Thrive Algae Dil - Cuiinaiy liiicroainae Cooklng Tonvara AminoZZ - \i'ounp Tissile Eii'tract
Uii Supplement

 

 

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Jetmeue lea Bodl Syo\¢m -
C:mp|efe We|oht Mlneqement Kl\?

itlyu Ne:ur\ls - ngh enemy No'.-
IIMD Nutrr\|ona| Produclc.’

;,_r_n _c.jé`niptmsj

 

Cathy

 

t:lurv.‘ie~SF - Deldz l. tlc-ming
Syslem Ta Help Lou Wel{|hl?

 

Mirsicnl Frotein Bar - l.'lulclehcb'\
1005 clean Pm'.elr\fwla:e?

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E§
...-s § ;El '-J

 

tanner creamer - Na:uld| Qna|ny
Colfle ¢rumu BI¢nd?

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Dlnhells ?ermlnalnl - Rn| Dlel
Fm;ram Helpt timm Drabeiu?

 

Hog\'rashl Eai: low caro. moderate protein and he=;llrl goes fats. ron will lose weight

your body will go into a state d ketcsls and star ournl-:g fat for luel instead cf carhs.

This s n scami

E

anthony constantlno

GOLO for Lll‘¢

what nfl don‘t have ore~dlalreileo

visit our website al wm.EOL-:l.cm

kuby

§

.r.br\erys Rlos

§

.they are so slow.

DOLGRES MART|N

Ccrno puerto consegulrlo

progress before ordertr.g ewry month.

E

Marsha Cotton

GULO fur L|[c

Gmo is for anyone who wants to loss weight and live a healthy lifestyle. Flease

l already order the treatment but they don amted yet is almost one month and a half

ln:ereste¢l in ordering product out dcn't want auto for every mcnth, need to sec

GOLO does fle auto Sh!D °F llqu Dl||. l‘l¢hee v:s:: ou- website at nw.ool.$.coo

Prevlous lock at this slght,an ‘artide' Blo»ssom Youtl\ Products l dci'-’t know why you

have t1'i15 a other 'artldes‘ sell:ng their products listed u~rder your web sight Vou
(Goi.o) state "snipment lree’ no Autu-ship or Auto-blll'_ until f got auto-charged ar
auto-charged ($99 95 + $89.79 +599.95 + $£9.79) from Blossom Youth koducts l had
na idea what thls meant. lt was not until products (that l dld not order) came or a friend
told me what happened a f chede my credit card a found the above charges that l
knew I had been mcleod (decelved) \¢i'hen l agreed to pay only sh!pplng to try trial
sample of 2 products ($4.19 for STM SERUM & $3.95 for 510 CREAl-l) Flrst 1 ordered the
`credn\' then 'the computer" [c!ld nat talk to a live person) ’s.em’ most people who order
the serum to ga with the ueam.. .so l agreed fn :ry both. No where was mere a ‘nouce"
lnformlng" me that if l did not cancel within 14 days f would be marged $99.95 for
cream & $89.79 lc:r semm. Nelther was l informed that if riot cancel monthly shipment
oi' these 2 uroducts with above cost would occur. Tl\ls company s attached to your slo:\t.
l assume you agreed to let this happen.. .alono with many many other unrelated 1a

r:ni f'l fJn nos marie ma in Anew»r nrlnlm\l order hut donn-ann mo wirl\ m nfo nba-ir

chrome~axlenslm:llbpcom}mrnmlapcogomelfmaegliragi!edthtrn|

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2l2i201? nlrnbussoroenshoiapp

what will happen if t do not cancel with in 14 days.

m itodney

l arn app-oadiing 60 -n just a couple weeks. l ordered this product 1 bottle ago and am
nn my second battle l take one tablet at each meai_ and the first week t had gained
weight. aprux 3 bs. | was going to the gym at this iime, doing about a half hour plus
on the treadin:.i three times a week with madilnes. Al'te.' the first bot:|e_ no change in
the jeans fitting or AN¥ weight loss. 1 did NUT change my diet at al|, cepi eating more
salads, and hult. 1 had gained the weight after retirement 1 yr ago. about 25 lbs I'm n
the neighborhood of 225 lbs now. and as of a couple yrs ago l was 200 |bs.

Barbara Rodrlgues

l hare a blood ciccting issue and loaned a masdve blood clot in 'is% off my heart anr_
needed ooer heart surgery at age 45. Aiso needed a filter p.aced because i had
numerous dots all over I'Iy body. l therefore need to take the blood thinner Warfann
(Coumaci nl for the rest of rny lri'e.

lly quest art 5 Slmp!e.d.'l any of the lngre:lients in this diet plan interfere with Waifartn
iCoumad ni?

Thafil¢ you 'n advance.

E o.si.it'rii

1 stopped smol¢h-.g. .]i.ily 13. 2015 since then l picked up over 100 pcunds. l went to my
dr visit she exp:eined to rrie that my insulin is 8 uoint from me being a fu li:'owin
diabetic..im very interested in something to help me to become better at csing weight
and the proper entersise regiment.,.i dont eat aiot .l lost don't always eat t.“e proper
lcods. end i eat late.\.i do try to involve aiot of fnut but also as we know that some fru ts
a.so holds alot cf sugar....l just feel that il's lime for me to take back my .li'e...and get
back healthy for me???'i'hank you

rd

i was diagnosed diabetic in lime 2015 and weighed 311 pounds. i have found
that l can control my blood sugar by avn d rig all grams. pasta. potatoes, and
-ice. By avoiding all d ihose, l can still have fruit. lt’s easier fcr me to
completely avoid them because i don t have will power to eat one piece of
:read. LOL I am a bread lmer. 1've lost 115 bounds since then. Exerclse ls very
.-iportant to blood sugar cor-tro|.

m Dlli'ie

No supplements needed except multiv.tarnin. 1 was d.abetic. Hated meti'on'nin
and insulin shots 50 locused on drooplng weight instead tu rnprove A:C.
Reyert-ed lt iri just a few months by eating roasted or steamed veggies. eggs.
cottage cheese. nuts, seeds. avocaoo. banana. -:i:iple, chlcken. beef. fish and
o:casslanaiiy ientl s or black beans rio pasta. bread. crackers. sugary stuff.
walked 25 m.n dally. Got off lnsuii: in one mcnth, cut metfori'nln close in half by
month three ami eliminated ali rre¢foim .-. by month hoc -ri~a¢ mg 3 y¢;r¢. ago
i've maintained excellent AIC (S) by ea:=ng low cadc except on special
occasions

m jessica

Vei'y nicei l need to do the tame. 1 was just told by my doctor that as a
diabetic, l can't eat Bananas...Did you eat them a lot?i'

E i.lsa Mltehell

iii-resume story, very encouraging and honest met'iods to getting off the
insulin. i love reading ihis..

g An:eia
1 arn 5 8 and weigh 215 lust started taking GOLO and lost three pounds in twelve days
with t: were more weight i am eating mostly protein and veggles but add gluten free
oatrneai ori each of my three wo koth days. Also added weight res.stance training to
hero get my ;\Ht timm from 42 2 to 25.

chrorne-exterisiondibpooncjoammlapoogcnneihnaegh'iagfiedithbnl siiT

 

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ZIZIZOU nlmbussoroenshotapp

l(eriya Smlth

lt workslThis is myth rd week and two weeks in l lost 13 lbs.i'ou have to follow tile
meal plan and you have to exercise.lts a samilce but a one that ’s worth lt‘s weight in
go d,no pun intended.

E |aelile

K-_ny:i.
We are so happy to hear that the product is working ior you. Please feel free to
contact us with any questions you may have along the wayi

GOLO Customer Support
1~800-7.‘.0~1656
support‘@golo.coo

m ilel¢a itoheruon

i»loiiil do l go about retumlng gold and getting my money badi.
Helqa Rcbertson

onto Customer Support

GOLO comes with a 30 day uncondlt cnai money-back guarantee
that beq.ns on the day that you receive the package tit order to
iece ve ret..-ri .nstiuttlons, please contact Customer Su spur at
1-800-7]0-\656 or - f

Ceci

if you are considering purchasing golo please save your hard earned moneyl:l| lt's
d¢fmif€li’ d Sfdl\l imd they should be ashamed of themselves for preying nn peop.'e wl'o
are yuinemble and trustworthyl !!i if you rea y want to lose weight. get on a healthy

food plan and work out regularly that‘s my adv'ce ! And golo... as for you. ital'ma 's a
b tchii ii'

GOLC Customer Support

Ceci.

When we spoke with you today. you advised us that you were only able to use
the product for a few days and had to stop due tc a sensitivity to one of the
ingredients

You resumed the supplements to us but threw anay the- rest of the items that
came in the Rescue Plan. We issued you a refund for the tems that were
returned and advised you that we would be happy to issue a refund for the
additional amount ii you could return the other ltems. i am sorry that you were
unhappy with this response however we did do all that we could for you and we
did refund you in full for the items that were returned

GOLD has helped many people who had previously been unable to lose weight
by'gettlng on a good healthy food plan and working out“. lt la nos e'i-ray: that
easy especially for those with insulin Resistance. Agiiin_ we are sorry that we
were unable to issue you a full refund and li you are able to locate the other
items ne would still be more than handy to issue the final refund when you are
ali e to retum them to us.

g jessica Tarte
l got my GDLO and l'm start my GOLG diet on Th s Menday. l hope this works for me.

HY G¢el 15 |¢'~`e vii lo 200|!15 by Seotember cr Oc‘tober. i'm going to buy my stuff on this
Si:nday iam so happy l'rn this diet

lill:hllle

lJ want 10 lose ZOC¢ in a monthl?l' Get reali

sakln¢ Queen Frar\ces

Lol

_ .r.... ,,

chrome-axiensimdibpoono]oemm|apoogcmalftnaoghhagileelthbnl Bl'i?

 

 

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w llol'¢ll'\

Rega.'d.ess cl what type cf weight lossi'n'anageme:'t yp\= use, losing
ZEO.E a month a health hazard 1 w sh you dcn't push yo-.rrsel that
hard.

Tammy Dougherty
Mellc». anyt>:'e out there who bel eve til-s p'oduct has actually helped them w1th we gm
.oss?l*? l see the comme'r.al and lt appears to tie a miracle r)i. .Worth it, or not???'."l?

E»]

l have bee-1 n-i lt -rince 7.=|-=_. ann have .ost 5 wl l .~-avent fat hungry at a|l. because lt's
ready a lot of food. F’t:.isJ l reel 50 mu:n better because l'm eat:rig hea|tn\r. my biggest
challenge ls gett‘-ng my meals ready for work And l:.-'.rig mag.riat=ve so l don’t get
bcred. l gravltate toward the same things all the t'me for ease in preparing.
lt will pet better l am determined to get dunn to 170. l‘m 5'9".

So far, l would recommend it!

n ¢lalretu
On another website, l found this phone no far these d you who are looking for answers
The nc. -s fu- thc companv. l hope th s helps you. i am thinking cf getting this for my
husbann. cut l need to finn out ll =t would be safe for l-i.~n. So l am calling tci ask about
this.

i'SOU'?J'Zi--‘-ESS

Barbarii
l just want a refund. l can t tli-.d anywhere on thelr site to do that He|p imm
anybcc!‘,'?? "?l‘

E GDLQ Customer Support

GOLD comes with a 30 day uncondlt-cnal rrci-.ei,'- -back guarartee that beg ns on
the day that vcu recelve the package [ri order to ieu:lve returr' lns:mr.tlons.
please contact Cu' tcn'.er Support at 1- -8€0- 730-4656 oi'. '. - . .

Repr

E i.ina. orriiev
Ulely you have saw??F?
E "'

l had the same reactionl

E Maureen]enklns
@ AM222 mm'rlo sense yuu're cbqyn.-' baby's ped w-ll te l not to tal:e any diet
st:pplerrier‘.tsl or vitamins but prenatal vitamins onlv.tre welght wi|.' come off faster
while breast feeding

ollvebeluty

who ln the he.l wants to b:east feed? t hurts ilke nell and the chances of qett!ng
pregnant again ls l'-!gl\. and that's a l e zoo.

E asking Queeri Frances

l loved breast leedlng. lt was healthy and easy l dlcn't experience any
dlscomfmt$.

Mompl’a

Stup d pecp|e that don't understand the great benefits cl
breazfeed-ng.'l. Your tucken stupm' !!
a-m not even-one loses wemht while breastl'eeclinoi '|

clvome-exlanslandlbpconciwmm|amogcmelhnaegl+iag!edthtml ?.-“I?

 

 

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Mla young

how old do you have to be to use goio? fm 15 and over weight 'ddnt want golo to affea
me differently wit'i strange s de affects or anyth'ng like that And lveiooited at all cf the
gold sites and cant get the answer l need. Does anyone have any ldeas?

m rage
Dcn't do gofo - try the female version on Atkins . Put app on your phone and
stay wit'i in your 'ange. whatever amounti oi' weight you want t: loose will fly
off . { at leas' my weight has ) and l havepoos

halting queen Fran¢es

You should talk w‘.th your parents

g ll.eep Trylng

ht.a Young. you are y:>t.ng enoug 1 t'-at ali you need to do is change your eating
hat ts and add some walking daily and the weight will come otf. lust don't stop
try nq. rio ore loses a hundred qunds lri a month_ it comes off a little at a tlme.
!'m 46 and t've lost 300 pounds r' the last 3 years lfl ran do it, you can too

Clll'l

lana and john. thank you for sayan that because l gained we:ght because l was not
eating enougri. l was eatan 1 rrea* lteer day. thei'ci'ore. those of you who said "\\‘OtJ EAT
TOO MUCH'. wh ~'h is not the case. l am pre-diabetic and wl:i try Goio 1 rim‘t knock
anything that l don‘t know about a id neither should yot.'.

N|collnat

Thani: you to everyone who have made statements My other half and t have been
considering trying this we tried slimnuici: and we didn`t lose any weight. 50 we're going
to order 601.0 in July. Wish us 'ucit i‘ii be sure to keep you all in the loop right here on
our prcgiess weel'.iy. Thank you K1nrliy once again.

Mlke scott

lm 72 and have the same results as the Canoi and her 72 year old brother who
commented on June 16 had. 1 we!ghed 268 lbs and not'rng happened i'or a coup e
weeks then the fat around my ind-section started melting away lts been 9 weeks now
and t weigh 241=bs. im a big skept:c and when my wifw told me about the Got.o
cornmr:r'_lai she had seen. I said lt was BS. they are just tel:ng you what you want to
hear but she lns|sted and 1 tried lt t think since l quit drini¢:ng pop. and qu£t eating
pizza. i:urgers, cookies pies, cakes, ch ps, fr'ed lood. ied meat etc 1 would have lost the
weight anyway. BUT th s s all mid-section fat. .-'.ct any muscle and l think its because of
the Release tapsirles.

jessica Tert=

H I'm Jestlca This Fnday' i'm go¢ng to order hines and my worn want one to and l hope
tn s stuff wori'. t have slckce:' b.it l'-n fine and eat:ng hea ty food and work out
everyday When I order 2 bottles lof me and mom to how will l w h get th s.

Theresa washington

t am on gold now trying to lose bel|y fat

E Vh:torla n.i|ihy

How islt working for you

TI`I ry

Ordeied this for my Moin. She did nat like the product after giving it a shot for over 2
week_'.. $aid it made her tired and in'itab!e. Called the Go!.o company to see about
getting a retund. their policy .s 30 days FF\UM THE DATE ¥OU ORDER|| So tell me why

chrono-e)densim:lmpooncjoarnmlapoogonnoifmaeghhagileritmnl

 

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BHT

 

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.\ company offering a BONAF:DE weigi't loss product would ldave :n essence a NO
REFUND uo|lcy. Bec.n:-.~e they are crooks and KNOW their product does iiOT work and
WILL NOT refund v¢>'-' money 30 days from the date of order (tl\ey could technically
take 29 days to deilvcr lt and then you wou'd be totally screwed) Even halfway leg:t
companies sel'lng weight loss products give more than a Ja trial penn-ell I would l'ave
rather put 590 on a roulette table. Better odds.

diana irliel e MlLEBE Bltt'i'
H . l Just v-‘a.'inslose some weight ln imcntli l need you to help me, thank you. Diana.'

linda

i'm going to g.i.e lt a try‘l v.-i;l trust this product in Jesus might name. lie that dwells in
the secret place of the most h.g i shall abide under his wings. And Jehovah lliy God to
biess this Ne\wr product n jesus name. An'ien. Llnda. l trust hlm. Before l trust any
man

E Anani.

Why ddn't you just ask Jesus to met the fat away??... Sklp the middle step. its

w Fh_yliis

l ag 'ee l prayed and lorgct about l lost the weight did not change my
diet '*e here you

E carrie Pu¢h
‘t'ou sound absolutely RlDlCULOl.iS

E Leah Tarnagsui'
Undd.
l'm shnd<.ed you would publ _-:y nut J=hovah to the test. you need to keep
testing yourself to see ii you're in the iaith, sounds llce you do='.‘t rea-ly know
lehovah...$name on you and if you don't believe this. ask an elder what he
tr inks of your reply .
AGAP£

Beatrlce

i'ni going to order it tomorrow l already work out 3)¢ a week with a trainer, Tiyi:ig to
lose 2':| So wish ineluck.

toby

My wife and l have both lost weloiit. We follow the Gr.in diet pretty close ana mae the
supplement. we ran out of the supplement and we both have gained a couple of pounds
back. we both work long hours and commute so exercise .s very little to non existent
We ordered some more ti:day. l ain now looking into the saLacia oblonga mentioned in
the revie\v. The diet is straight iorward. pretty mich t'\e same thing they told us in the
third grade. We all need to limit sugar and processed food. l also believe g|uten should
bellm:ted as well. i~iy wife lost 15 las. ln 45 days,l ost to lbs i believe therels
something to the supplement because we have started creep|ng up in weight without lt.
i'lo'-'¢=v!r. l believe position reduction will- alsc impact the weight ioss. '.'i'e wlll begin
measuring each portion today instead of eyel:iailing lt while putting thereon ln the pan
to cook. l.oosing weight and leeplng lt off can tie very trustrating, especially me older
you get. t was a professional athlete back .i'i the day and never had to worry about
weight loss or gain. But now getting close to $D...v.'ell. lt is challenge to say the least.

K¢I‘l

l will tell you what worked for r.:y inoiiiei-i.i-iaw. F=rot_ i¢t me give you some
background lni'crmatrnn. She has a hard time doing any exeri_'se because she has no
carthage in her imees. she was extremely overweight and did very little when her doctor
told her that she was pred abt-c. when her social told i-er that she traced t`rie line and
was now in the diabetic range. she made the changes. She starts eating at 9 am. 5he
eats every 3 hours tier breaidast at 9 has a max of 25 grams of carbs. Lunch and
dinner at noon and 6 have a max of 30 grams cf carbs. snacks at 3 and o pm have a
mac of 15 grams. She drinks bottles cl‘ water with sugar free liavoi. She has one piece
of sugar free candy with both lunch and dinner and has one Carb smart ice o'earn bar

civorne-mctonsiondh)pconcjcmnm|apcogonnelfrnaegihagjfedlthhnl

 

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Wi‘.i'

 

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before ted These make sure that she dcesn't feel like ne :s l.'ep.-\ed. Wl'.hout exercise
cr counting calones, she has lost 100 pounds in a yea-'_

m iandy
Av.-escme l'n very happy to near that l reed that met vat-on.????????

E Pnym;

AW¢$DFT| 9

E lavann¢

hl len. . l just wanted to know that the carb count lor .unr.h and dinner. was it
30 finds SEDZ‘"HCEIVF cr 60 carlos tctail, . same as fertile snadts....ls cards
separate y. or 30 earns totai? Just needed a little motivath because my
method STINKS||.“ AND l DEFINETEL\' DON'T WAN*JA START T»'\KING All'f
MORE DiET PILLS AGAlN....Thal-.ks in advance and :mln'ats to your mother-n-
law.. :smlle).

lion

m Ancther miracle weight loss prodr ct. Why hother? il you need lt to lose welgl~t, you will
need lt to keep welght nii' irou are stuck w.th this stuff ior tl'e rest of your life There ls
¢¥\?\’ on= way to lose weight. fewer oa|odes. Str.\p taking sugar and processed leods. Yuu
don't need to exerrJ:e. took at Stephen Hawklng lie :s as skinny as a rail and doesn*t
move a szcle. Exertise doesn‘t icse welgllt. You can hlke a ml.e on one cookle. se
exercise ll you like exercise but mt the calories and don `t eat sugar or processed loods.
That's lt.

E vanessa

l agree Rnn. The top 10 reasons your not losing welgl~.t.
1 you eat too much

2 you eat too rn..ch

3 you eat too muc.'l etc far 7 more t-mesl' l¢:

This ls a tlue statement

E im

Vanessa. I was orr a strict diet with my Dr and a work out rout.r'.e. oon't
judge bigger people ky thinking they eat too muc.h. th all overweight
people have over eating lssues. sometimes its medical or medicine
reasons far lt. This has helped me ma]ony and my dr. has high y
approved my rnuit:.. He was the one ln fact that told me about lnsi.!ln
resistance am.l approved that l take lt. l mold lose everywhere but my
stomach. The weight s coming off and we have found my solution ..
UONT JuDGE. you never know what someone is going through, and hew
hard they may tie working on things to change their situat!nn. Yet when
t'iey try. they get knocked down ..

E Maureen]enltlns

l 5000 agree with you bc i'm on at least 8 meds or more with a
terminal illness disease that cant be cured unless cf a stem neill
bone mancw. Some pp l.ke myself gain weight bc they hardly
have a appetite tic cl medicine |ntake, it literal y takes away the
mood of eating... 5000 00 ND‘F JUDGE, LES'l’ YOU BE
JUDGEil.i

m Sherrl L Mert!

AMEN|I

E Gemma
Scrry. .no such th l'l; as a FAT PR|SL'i'iER OF WAR||l

E lohn doe

tour eq ncrant in your assessment. l have a very physical job luse lltbll
aid just w.t!i my job alone l walk at least 10-!3 'r:lies/per day and burn
panama of Sl:lDo calami_s. My diet consists of p'aln oatmea' with a

chrome-extenslom'ibpcorlcjcammlapcngcmellrnaegh|'lagjledlthtrn|

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banana and sane peanut butter mined in i’.'.r breakfaat, a tuna cr turkey
wrap for itinch, chicken of fish for dinner along with lmits. vegetables.
nuts and a protein bar for snacks spaced out in 3 hour Increments
timing tile dayin my typ cal week. Yet l weigh 215 lbs with a 5' 10‘
frame stop being judgemental and think you know everyth nq_ some or
us aren’t fortunate enough to have been spared the problem that
messes with your insulin resistance

@ liichard Best. MA (physlo|ogy)
'n'y poogilng this artlcie:

NY'l'irnes: Skinny and 119 Pounds. out With the Health
i~lallrnarits of obesity

lt is theoretically possible 275 pounds :s a very healthy weight
for you. lt is also possible that il someone w th tlte same body
mass index and percentage body fat as you lost weight. his
health would get worse.

¥ou m.'ghc lose some weight t,body fat) if you switched to a no
carb breakfast and added weight train ng every week or two and
a large salad every day. Losino gluten containing grains ir riot all
grains and particoiany any flour would also be beneiidoi. l used
to teach this stuff at the college leiel. l have read about woo
jounial articles in this qenenl area

g A tell exercise physlo|o¢ist. CSCS_ cpt etc etc etc

l am a ltt-e unsure if you taught human physiology why
you are suggesting people nnt eni carlos in the am and
:ft to lose weight Aiso most educators would quote a
:eer reviewed article from a scientific iouma|, not the
Nv?. You have to eat carbohydrates to case weight and
you have to be active The bottom iine ls most people
dor-'t want to out the work in That’s why there are
those who are fit and those wi'o are not. Theie's another
post on here about someone need ng to treat heree!i
while on this diet with a low carb chemical sugar ice
cream bar before bed .l ice rea!.y peopie?? Eat a tul y
balanced d et don't eat befcie yw go to bed and
woriq:ot that's .t.

flow here’s some REAL science on why you need cards
Any type cf mmchydraie you eat ls eventual y broken
down :nto o|utos wh'ch lstl'.en meta!:oli:ed. Pyi'uyate is
formed during g'ucose metoboi sm and it glucose :s not
present l'i the blood. oyruviite cannot do its job the
energy p.'ocess. Therefcre. I'at has nowhere to attach in
the booy's mltoohondria. which in cum siows the
metabolism, and will halt or extremely iessen the booy's
fat-bur :-. ng capabilities

|olm doe

And you're just plain gr~:iran'. ard i'isenslt;ve t: tl'-e 1:eo::.e t`:\at can't
control how mach they weigh

E Scott.

Or you could get a copy cf Wheat Bei.y and lose weight \vhl'e
learning the dangers of "heaii:hy whole gra!ris‘. Worked for me.

lethed

riot eating enough wall cause weight qain: l eat healthy food and most
days l barely make 1600 calf/lest il.'i\en what you eat has very little
calories it is hard to get enough ca'or|esl l oon‘t eat cams. processed
foods, drink sodas, o.- anytit.ng that is not 'i'ea! food‘ and can‘t lose
welqht. Do:tnr has tt-'d me the Issue is twofoid, one. l have
ivyoothyroldlsm and can't take the meds cause nl side eli'ects and two. i
don't eat enough caior|es. Not ai. overweight peop'e eat ]ur.l< or over
eatl

E l'hoen|xwmri

@Ron--Steplien Hawi<inq is as thin as he ls because i':-. moseley have wasted
and ntrr.ni\leri from dlr.t:¢¢ and hit nronre'isiw- npur.'..l¢n:m. disorder i'm an R|il'

citama-extensiondfbpoonelcammlapcogonne|frn aeghhaglocit.him|

 

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_-__--,- .-t -V»-.-.~.- -,...-----. ..-..,-.-. ... .... ...

I don't do \vel ruth vol maklng oser.rdo-mecllcal statements because they rarely
know what the h*ll tlrey’re tallunq about lt's `D et 101' to cut out sugar
saturated fats. soda 81 h'gh glycem;c rndex cards I hope you dorr't th nk you
were offer‘ng any ep:phany here Human belngs absolutely DD need exer:'se.'
you couldn't possibly te more wrcng. Bo'\es begln to th|r'r and muscles waste
when people stop emerclslng. You folks that are read ng these posts ken ooesn't
know what he's tallean about. lgnore him for your own good SHDH.

Nllllr

TI' l-wulks

¢l‘|rii

Hello l arn a lnsu in diabet c and also leave M_S to and need to lose same wesgnt lll<e
yesterday l Feei so fat and ug.'y and just tlred cf lcaldng at myself 've never been over
145 now lrn close to 180 and that :s not me so what cum do

Llsl

15 there a 'eason there are no replies 1 am .nterestm but need more informath

jeannette tarter

l'm th|nt !:q t'=e same t:-rrrrg lisa why no renly??

Alez
ls thls safe when breastfeed.ng? wlrl rt affect rn,' mr k sr_p;:rlyr

E alrelerla

I would never take lr'yt|llrlg while you are br eastfeqdmg that s Jtlsl common
sensel Yau just :-.'.ld a baby the welqht w ll eventually come aft...

october-angel

3 agree ~v:t'l Avaler.:. Also consult your DR before taking anyth!ng.

‘|’he 1 p umber

Ho vop low sugar and low casts eat none process food mlnlmul process cheese eat carlos
that your body process as prcteln l I:e dream l`reld pasta carb heathy and you will lose a
ton of wergnt and have way more energy eating thls way can also reverse type 2
ulabetes as lt ala fm me l was type l a year ago and now my blood sugar level stays
render 104 after last ng.

Rlchard Bezt. MA(physinln;y:

what ls your exerclse program? Wltllout an exercise program ~,-..rr.r probably have
no: gotten your blood sugar tlovm to where it theoret:cally can gc. .'lust as a
pornt d reference my last fastan blood sugar was 73. My resting blood pressure
ls about 110160. Both of my parents were sllgrtly ovese by about age 50. My

'.crher had angina by the tlme she was 52 She had a blood cholesterol level cf
400.

Grrla

We-l We!l No lnfon'nat orr tr,r help make a declslon. One more tlme to pay far somet ring
only to fine lt useless? 1 dc rrct have money to throw away 'rhe couple of other thlllgs l
trled were useless .. Nat sure 1 can alford to throw array more money l am a Breast
Cancer survl\ror wlth sugar problems. But wlth two d sablecl People_ livlng ln my house
money ls t|ght Sure wish you could depend cn someone to really tel. the tn.ltf'l not rust
be out to get into your pocket$_..._.. s _ . _ .

maum.
1 nave brassth -'-rlt> t rlan rp Lr:rse some wElGr»lT

chrom e-extenslm:llbpcmcimmm|apcogcnnelfmaeghhagiledithhn|

 

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g Lynettenrake-]ef|erson

i-ielio, my name ls i~t:s. Lyt\etie t:ralre¢ Jeflerson. l am a diabetic anri t hug
nsulln called Lantls 1 want lo loose some weight before the summer time c:me¢
can you please give me some suggestions please

. Rlcharti kit
Do not go on a d'el. This may stimulate excssive eating 'n the futi.re as
your buoy will be ant-coating another lamine. Try instead a little bit of
intermittent lasting Fcr many this could be as simple as avoiding
corbcnydrates before noon.

avoid flour and sugar. Eat a b-g salad every day that is at least ED%
cruciferous vegetables.

Join a gym and work out for ar east one hour every two weeks. Use slow
10 second repet'iions and make sure you exhaust muscles completely

w t-'l earth set.

Tl’t' to understand that it -s possible to be moderately overweight and
i-‘=fY healthy or even obcse and healthy and that it is poss:b e to be th:n
and very unhealthy depend ng cn many other factor'..

Try to build at least 2 rn ies of walking rnto your every day routines.

Try running ar least 1 mile per day ar the equivalent theiqu rr\ten.o s
lsprints} in your exercise program Or try some equivalent aercbic
exercise such as swimming.

Someth'ng very few people know is that muscle tissue produces a
hormone called iept|n that squNS$es appetite

Aerol:ic exercise raises the level of gmi-1 as march as 50%. This is a
Drutelr. that mms-ports qiuccse and other moiecu es into the muscle
ceils. Be’.ter transport means improved insulin sensitivity which means
lower insulin levels insulin blocks ieotin or causes ieptin resistance
Leptin resistance leads to ncreased appetite and wei;;l‘.t. Inv.irn also
stimulates fat storage aottorn line is the welqht gain =eopie vary in the
amount of fat that they r:'arr carry around safely. However. we al have a
threshold above which we are storing excess calories not in fat cells but
in the |i\.er‘, pancreas, heart, blood and kidneys. This eads to a conti ticn
called merabolic syndrome that i't turn leads t: heart disease. diabetes.
and many other health problems. Aercbic exercise and pro:aoiy
resistance exercise as well beth increases ieveis of a blood protein ca"ed
l<!oti\o that mprove insulin sensitrv-ty throughout the body

E Phoenlxwmn

No one has to `jcir' a gym‘. W¢'\ilting is rned:caliy proven to be
ThE most effect ve weight loss tool and it costs nothing. Just get
out there and walk-start srnaii...go 300 yards or half a biocir,
Increase lt a few steps each day-just MOVE your bcdy. Soon
you'il realize lt no unger feels like n dtore but is pleasurab e
t'ou get endomhln release when you hit a certain level of
activity. You'il know when that's happened because you'il fee!
really great after your walk. Just get out there, walk every day.
it tale 18 days to form a new habit s make it

pt'.a“lanent.. start your 15 days torr\orror- and get movihg. get
lreaitn!e: with every steo.

l Arah human

fierr"y ls t'iere no one nn here that has a'iy results tn report a: ai:? ls there not one
person to defend the occusat orr of useless "qredients in Release:'

i]usr rrr:rereo two bottles citrus yesterday. then round this see trr.-iay. Mayi>e when it
barrivesi should just tell the bottles on Feebay or feed it to my overweight cat (jr.rst
kiddin').

l haven t even lreceived it yet. and it's already not footing good so far. Bb tlarns down
tire dm n?

E rm

Dor't sel it. Use itii lt does work I-"ave struggled along t'rrre thinking that is
was all my thyroid and having a baby that caused me not to lose, regardless of
what i ate or how much i exercised l-ly Dr informed me that we could take
another approach and try a insulin resistance approach since l had all the
symptoms 1 sWEAR. this has been the only thing that has worioed. i eat along
with the plan as much as possible, and take the capsules and have lest 62
pounds so far in 5 rnonths. Tlre weight just started melt¢ng oe\'forrne. 1 found
my answef. everyone ls different because our bodies ere ali d fferent. tts ncr a
joi¢e. if you use t the right way. ll you eat like trap and pcp these, yca may .ose
scme_ but porng along with the d et as close as you can. it will work. At least it

cl'rome-oxionsimJ/bpconc]camm|apcogcmelfmaogihaglledthiml

 

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EJ

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El

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did tar me.

m carol
l-iy 72 year old brothe. ti1m.1lt.l-iel said nn the suggested d|et alone he
probably wou d have 'ost welght, but in 5 weeks lie has cst 23
Dcunds.. all bel'.y fat. lie said that -~e sea no results for about 2 weeks
then all of a sudden lt litemva started melting off. He said he doesn t
seem tc have lost any muscle tone. just beliy fat. l m going to try lt
because nothlng else seems lobe wanting l'm a 62 year old female .l
will let you know ln a few weeks how lt has worked for me.

E ltatherlne Hessley
Thank you so much. l'm otdeii iq th s right now. Fleitse God let this
woman be r|ght Let this v.'ot‘k.

E Rosemary
Thar.l<s l needed mat.

octoberangel

Ijust ordered 2 bottles of this today mysell. One for my husband who needs tc
drop tit least too counds. He and 1 both tried llutrl Systems, he lest 20 pounds
l lost 10 and we both gained it back and then seme. Hls stomach is growing
foster than the weeds in the backyard and since l hit menopause my gut has
grc'.vn too. As my gyt- told me protein and vegglu veggles and p'otein. We are
currency srnack n the middle of a massive kitchen remedial and l am unable to
cook proper meals. t will give thls program 30 days to see what happens. Once
my kitchen is done. l plan an getting bad< to cooking tow carb healthy meais.
Ereaklast and Lunches are our lssues. i-ie has access to numercus places tn eat l
do not l brng my lunch everyday but it gets boring real last. l do not want to
be on n pi: for the rest of my i le even thought take a thyro d p ll daily. t hope
by end of month october, my kitchen wall be done and l can cook healthy mea-s
once again I also have the Gedrqe Stella low catv and loving lt cook hook as
well as t Dr 2 d'abetic cook books at home ton l miss cooking My sister gave
up sugar for 30 days and lost the weight and she said the nlst 10 days are the
worst but she did it. t used to be able to eat anythtng but when l turned 40 it
was all down hll|. l am a firm bellever that l.‘ we watch what we eat and cut out
the ciap. soda. sugar. processed packaged food and WALit we can and w !| lose
the weight. hlaybe the 33 days will give me tile jump start that l need. l felt
Dretty good on Nu:rl systems but like l said once we went of all the prepackaqed
food tit was actually pretty good) we gained the weight all back. Stay tuned rcr
updates. Thanks

currie Klelrischm t

They c‘.z'il-n lt v.!:-. l just got my sl'.'pmer.t yesterday. SURE HOPE 50

E]

Kll’eh

l start last week loss 7 pounds di my blood sugar ls starting to come dovm so is
my blood pressure $o l am glad.

Benrile saunders

l am diabetic WPE ll. will Gold l'elp lose 64 pounds overweight l take two insulin
hurnulog lmrmer lnsui :i four times a day. l need to improve my health effect eye sight
kldneys liver asthma need help to 'rn;rove my health. t can only paid s1 trial lar
Golccan you help to improve my healt:- l tired being slc'l: every days and nights. erte
me letter ll you can help meillla¢ne Boiinle Sauntleis 138 Hullvvloocl Clrcle Greenvllle SC
29607 need help with d|abetes.thenl~t you.God bless. lf you can help lose weight 64
pounds t|red el sticking myce|f.

F¢E¢y

we.' it locks | lee tre ievlews are fake slnce ne one answered the questions aosed. llot
sespondlng tells a intl

E*J

Carrle ltlelnsehmtt

--i¢-t. ~\~.. ____._..._-i.- ._-..... ....... .__.

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maqu tlley ole lespulull\g omnvmuaoy lay enmu.

Srptll S:ott

My name ls scotia Scctt l just want to loose 00 pound Ly the e-\d of September ll can
help me l w ll appencate that

l.ynette Drakb]l!lerson

t am tmhg to loose a: least 50 to too pounds agaln l am a dlabetlc type 2 do

you th:nk t lac Golo ls good for me to loose some welqht cr could you please glve

me some suggest'ons on welghl’ loss please l would apprecate lt very much ll
you luke you can contact me at.-l»l!-BBZ-S-ts$ can carl me anytlme thank you so
wry very much. Lynette Drake» Jefl'elson

Sunnne trumpton

Can you take th=s rf you have Mlb and congestwe heart failure my husband cacao
cont'ol his lccd savings

Dlanne Lewls

l'm a lnsulrt\ dependent d|ahetlc would GOLO
Be salefcl ne?

Sherry Blnnott R.M.A.
` l‘lo you a:e not nsu| n resistant you are not malcan enough lnsulln. l would not

order t'u: without first takan to your physlclan. 'l'hls company will not take

responslt: !lty for your health. They are not your doctor and no nothan about

you

E dumbshlt

' \L"£'W

M\'RA BRDUL\I

what md of food can you eat? what klncl ot exerclse do you do?l have just nn.shed
chemp h:.- :rea$t cancer and my sugar has stayed high tll the past few days .|f th|s wl||
\vor.< lt w»;l te great he been on dlets forever lt seems ltke. lrn ust asan lor the truth

jamle

HlIT ls suggested as the exercise by GOLO. but what about someone l.l¢e me that has
100+ pounds to ose? l cant see myse:|"jump ng light nto HllT'.

Walt Dlsney

l \\i\s ctr-aes about this product because although all the people ln the mmcrclal
appear to have lost weight they all still have along way to go, yet al seem to feel like
tl-ey have 'eached their destlnatlon.

Norn

As|ted '.ustorr»er service lts not for d abe:lcs on'y but for people who crave sweet and
cannot control chose cmvlnqs. Prlce ls only 539.95 for supplement. backs and 1-year
access to their site where you can have your personal prcllle, support and forum as they
say.. Free Shlpplng mt another auto-sh p company l read the slte - very detal!ed -
but couldn't flncl lngredlents of their Supplement Release anywhere Flnally found lts
htdder\ ls FAQ sectlon mt lmpressed wlth lngredlents. Dont see arm '1 ng that can stop
cravlnos would be so great to hear any test mony from somebody who used lt...

baum

l am a nurse and a non-compllal't dtabetlc. l know those 2 go together we|l.
huh? t]ust received the package you spoke of for the 39 95. Frcm what l read.
rt Is going to be a well balanced meal w th Itt e to no processed food. And the
exerclse l‘ve read about so far says start wlth 10 m notes a day and by the e¢-d
cf 2 weeks they want you up to 30 minutes a day. Tl\a: be:ng sald. lt's the

chrorne-exlens| orl:llbmoncjoammlapcogcnnelfrnae¢hagiledtl'mn|

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Health Products

Dlscover Which Supplamonls Ara Slo\v<y
K.'ll:ng you and Whlch Ones You Should
Ba le:ng Dally For Gpl:mnl Health

 

 

    

How To Ramove Aglng Eye Bagl ll
Wr'nk|ea !n 2 Mlnutt$ (No Surge¢y‘l)

 

We:rdesl Trlck Erasea \'ellow Teeth Stalns
|n 3 M|rlute¢l

 

lVldeo] Men, Nb Nced for Vlaqra .f\lou Do
Thls ~ Once Dally

M§f- m . `.E

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largely accepted loglca| way tc welpht loss. But, for me. t llke the slmp.'e meal
plans 'Plcl: 1 of these ltems_ Plck 2 of these Items' to help you stay balanced.
Can`t speak towards tr'e supplement because l haven't tried lt W|sh me luck

E mlrltza Ne¢ron
ls t'::s program en y for dlabetic people?

norma
W:|I thls g!»e you energy

s LEAVE A REP|.Y

l'\l.ll.'. ['Ll_._ ,'l'.l_

Noul'y mo ar lollow-up comments by email
Nouly mo ot now posts by err-ali

l'DA Disclusurc: llr,'$»¢: ‘\?ll!t.ll:¢‘r‘.l§lt¢t‘~"_‘rlnl
ln:r_-nt".'::`.u.tfc:l bylht: l l).\. llu.' tlrt)rlutt i',.v' l
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n~.*=l'.z:tll land :t- m.mlll am u!J.'
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':1.1 Our Gmwing Facehnok Communlry

Supplemchl.Ppllcc:. __

§ Supplement Polh:a

For:e '_ove - Po‘.vdered Sexual
Arousal Booster Drlrdt For Women?
ht'.p! -supp:emen!poicu comr?orte»

Forte Lo\'a - Po\\'dered S ..

imm ll :mlnnnt no sharp

@ supplement Follce

Slllmn l.lr.t kloroccan -=rgan Oll -

 

 

Dlabete¢ Brealtthrouph That Wal Sllon:¢d
by Urug Companle:

  

Reverse Aglngl Etale Eye Bap¢ & ernklea
ln 1 M|nute (No Boloxll

Stay Cannected On Socl'a| Media
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WB!L'F|BE_']

Rccommended Reviev.-s To Research

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m Opti::)i;inq th:t $y:tcm'.’

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Fpod Sr:zdl.' D\alnm:ll::u\n E:lllll
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Pur: quakolin Exlr.u:t anmw -
m.n-n F:t :nd L,cso Wolght`l

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EXHIBIT “D”

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Poppcr Harnill;l)n LLP

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May 10, 2017
vrA FEDERAL ExPRl;:ss PRJORITY

Supplement Police

c/o Domains by Proxy, LLC
14455 N. Hayden Road
Scottsdale, AZ 85260

Re: GOLO. LLC
Dear Sir or Madame:

This firm is lntellectual Property Counsel to GOLO, LLC (“GOLO”). As you most likely
know, GOLO is a leading weight loss program created by a team of doctors and researchers which
aids people all over the world in achieving their weight loss goals in a sustainable and healthy
manner.

lt has come to GOLO’s attention that you published a “review” of the GOLO product to
your website, https:l“/supplementpolice.com. (See https://supp|ementpolice.coml“golo.) This
“review” remains live on your website, and contains numerous false, misleading, and defamatory
statements about the GOLO product, and provides D support or evidence for many of the assertions
made therein. These false, misleading, and defamatory statements are likely to influence
customers’ purchasing decisions and lead to customer confusion

First, it is clear that Supplement Police uses the headlines in its GOLO “review” to create
skepticism regarding the GOLO product. The questions posed through those headlines
(particularly, “GOLO - Insulin Resistance for Weight Loss?” and “I~Iow Does GOLO Claim to
Work?”) are clearly intended to raise doubts in readers’ minds, and paint GOLO’s product as a
potential sham. (Id.) In reality, GOLO’s efficacy is well-established, as evidenced by the many
studies and trials conducted by GOLO concerning its product, as well as the statements and
opinions of various physicians (See https:f/www.go10.com/clinical-studies/ and
htlps:.-"Fwww.golo.com/about-aolo.)

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And second, your GOLO “review” contains numerous and blatantly misleading, false, and
defamatory statements about GOLO under those headlines. For example, you state that “insulin
resistance is also known as prediabetes.” (https:ffsupplementpolice.comfgolof.) These are not the
same things. (See hltps:.-".-“www.golo.com.-" (“insulin resistance can develop into pre-diabetes and
Type 2 diabetes”).) You also state that GOLO “involves a lot of high intensity interval training, or
HIlT but there’s some controversy about [HIIT’s] ability to help you lose weight” and that
“GOLO also advocates something called ‘spot training’ [which] some studies have shown is a
complete myth and doesn’t work.” (httDS:F.lsuDDlementDolice.comr'golof.) Yet, you do not cite to
any evidence of such a “controversy” or the supposed “studies.” Finally, your “review” also
questions the ingredients in GOLO’s Release supplement, and states that you “can’t be sure that
[Release] provides any meaningful results.” (Id.) GOLO’s Website provides extensive details
regarding Release and its success. (See littt)s:waw.aolo.com.labout-release.-'.)

Supplement Police’s disparagement of GOLO’s product appears to constitute, at the very
least, False Advertising under the Lanham Act and common law defamation Under the
circumstances, Supplement Police must immediately cease and desist any and all advertising,
marketing, review, or discussion of the GOLO product on the https:r".-"supplementpolice.com
Website, and provide confirmation and evidence that the GOLO “review” on the
htlps:F.tsupplementpolice.com website has been permanently removed.

Please provide confirmation of your agreement to the above terms within the next three (3)
days. Once the above information is received, the parties can discuss resolution Of GOLO’$
monetary claims.

Additionally, we respectfully request that you retain and maintain any and all documents,
computer, and phone records, as well as any other hard copy andfor electronic storage of any and all
information and/or documentation which may be relevant to GOLO’s claims and any possible
defenses you may raise.

Lastly, for your reference, I have enclosed several of the pleadings and motions filed by
GOLO in its lawsuits in the Eastem District of Pennsylvania against the website,
www.consumerscompare.org and the diet pill, PSlOOO, as Well as against the website
www.DietSpotlight.com. I have also enclosed the Stipulatecl Permanent Injunction granted to
GOLO against www.consumerscompare.org and PSlOOO. GOLO’s suit against these entities
related to www.consulnerscolnpare.org and PSlOOO’s collusion to divert intemet traffic and
business from GOLO to PSlOOO via the use of a misleading, false, and defamatory “review” of
GOLO on the www.consumerscompare.org website and misleading, false, and defamatory
advertisements on various search engines in violation of the Lanham Act and Pennsylvania
Common Law.

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l look forward to hearing from you.
Sincerely,
fsi M. Kelly Ti[le."y

M. Kelly 'I`illery
Counsel for GOLO, LLC

